Case 1:20-cv-21553-MGC Document 32 Entered on FLSD Docket 04/16/2020 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO: 20-21553-CIV-COOKE/GOODMAN


    PATRICK GAYLE, et al.,

            Petitioners,
    v.

    MICHAEL W. MEADE, et al.,

          Respondents.
    ________________________________________/

                NOTICE IN RESPONSE TO THE DISTRICT COURT’S ORDER

          Respondents, by and through the undersigned counsel, file this notice addressing the

  District Court’s order in [DE: 31], requesting that Respondents re-file the Notice of Declarations

  in [DE:30] as public filings or file a motion for leave to file the declarations under seal explaining

  the reasons for such request.

          Respondents advise the Court that the declarations in [DE:30] were not filed under seal.

  Since this is an immigration case, the docket in Pacer may be restricted and might not be available

  to the public. However, Respondents never sought to restrict access to the declarations. As the

  District Court noted, the Respondents will be filing a supplemental notice of declaration to address

  all the issues raised.

                                                 Respectfully submitted,

                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY


                                         By:     Dexter A. Lee
                                                 DEXTER A. LEE
                                                 ASSISTANT U.S. ATTORNEY
                                                 Florida Bar No. 0936693
                                                 E-mail: dexter.lee@usdoj.gov
Case 1:20-cv-21553-MGC Document 32 Entered on FLSD Docket 04/16/2020 Page 2 of 2




                                     99 N.E. 4th Street, Suite 300
                                     Miami, Florida 33132
                                     Telephone: (305) 961-9320
                                     Counsel for Respondents



                               By:   Natalie Diaz
                                     NATALIE DIAZ
                                     ASSISTANT U.S. ATTORNEY
                                     Florida Bar No. 85834
                                     E-mail: Natalie.Diaz@usdoj.gov
                                     99 N.E. 4th Street, Suite 300
                                     Miami, Florida 33132
                                     Telephone: (305) 961-9306
                                     Counsel for Respondents




                                       -2-
